Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 1 of 35 Page ID #:4813



   1
   2
   3                                                                        O
   4
   5
   6
   7
   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11   KOBE FALCO, individually,         )   Case No. CV 13-00686 DDP (MANx)
       and on behalf of a class          )
  12   similarly situated                )   ORDER GRANTING MOTION FOR CLASS
       individuals,                      )   CERTIFICATION
  13                                     )
                         Plaintiff,      )   [Dkt. Nos. 130, 133]
  14                                     )
            v.                           )
  15                                     )
       NISSAN NORTH AMERICA INC.,        )
  16   NISSAN MOTOR CO. LTD, a           )
       Japanese Company,                 )
  17                                     )
                      Defendants.        )
  18   ___________________________       )
  19
  20        Presently before the Court is Plaintiffs’ Motion for Class
  21   Certification.    (Dkt. Nos. 130, 133.)     Having considered the
  22   parties’ submissions and heard oral argument, the Court adopts the
  23   following Order.
  24   I.   BACKGROUND
  25        This class action alleges consumer defects and
  26   misrepresentations based on the timing chain systems in several
  27   Nissan vehicles.    The Court has already detailed the basic facts of
  28   the case in its prior Orders, particularly the October 10, 2013,
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 2 of 35 Page ID #:4814



   1    Order Denying in Part and Granting in Part Defendants’ Motion to
   2   Dismiss.    (Dkt. No. 51.)   Thus, the Court repeats the statement of
   3   facts here, along with new relevant facts:
   4        Named Plaintiffs Falco, Seguin, Padilla, and Galvan are
   5   purchasers, respectively, of a 2005 Nissan Pathfinder, a 2007
   6   Nissan Quest, a 2006 Nissan Pathfinder, and a 2005 Pathfinder.
   7   (First Am. Compl.1 (“FAC”), Dk. No. 22, ¶¶ 55, 61, 70, 77.)
   8   Plaintiffs allege that their vehicles had a defectively designed
   9   Timing Chain Tensioning System (“TCTS”).        They bring this putative
  10   class action on behalf of themselves and other purchasers or
  11   lessees of the vehicles noted above and other vehicle lines that
  12   they allege share the defect.2      (Id. ¶¶ 2, 5, 28.)     The Defendants
  13   are Nissan North America, Inc. and Nissan Motor Co., Ltd.
  14   (respectively, “Nissan USA” and “Nissan Japan”; collectively,
  15   “Nissan”).
  16        Plaintiffs allege defective TCTSs are prone to failure before
  17   consumers reasonably expect any failure to occur and that the
  18   defect presents a safety concern for drivers and occupants of the
  19   vehicles.    (Id. ¶ 5.)   They allege that repair of the faulty TCTSs
  20
  21
  22        1
                 The Court notes that the operative pleading is now the
  23   Second Amended Complaint (“SAC”), Dkt. No. 95. However, the
       essential facts and theory of the case remain the same in both
  24   pleadings. The SAC does have more specific details to support
       Plaintiffs’ claims because more discovery had been completed.
  25   Those facts are also alleged in the Motion for Class Certification
       and thus included in this Order as well.
  26        2
                  These lines of vehicles include: 2004-2008 Nissan Maxima
  27   vehicles; 2004-2009 Nissan Quest vehicles; 2004-2006 Nissan Altima
       vehicles (with the VQ35 engine); 2005-2007 Nissan Pathfinder
  28   vehicles; 2004-2007 Nissan Xterra vehicles; and 2005-2007 Nissan
       Frontier vehicles (with the VQ49 engine). FAC § 2.

                                             2
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 3 of 35 Page ID #:4815



   1   has caused them and other class members significant monetary
   2   damages.   (Id. ¶ 4.)
   3        The TCTS is a component of an internal combustion engine.           It
   4   is responsible for connecting the engine’s camshaft to the
   5   crankshaft, which in turn controls the opening and closing of the
   6   engine’s valves.    (Id. ¶ 29.)    The TCTS ensures that this system
   7   occurs in the precise, synchronized manner necessary for the engine
   8   to function.    (Id.)   According to Plaintiffs, a TCTS malfunction
   9   can cause a vehicle’s pistons and valves to smash into one another,
  10   resulting in an inability to accelerate, maintain speed, and idle
  11   smoothly, and that malfunction can lead to catastrophic engine
  12   failure, posing safety risks.      (Id. ¶¶ 31, 33; see also Pifko
  13   Decl., Exs. 2, 18, 21, 22, 25).)
  14        Plaintiffs allege that after their vehicles’ TCTS broke down,
  15   they were confronted with significant repair costs, ranging from
  16   $510.60 for Falco to $2,788.00 for Seguin.        (FAC ¶¶ 59, 68.)
  17   Plaintiffs allege that they would not have bought the vehicles had
  18   they known of the TCTS defect.      (Id. ¶ 12.)    Plaintiffs allege that
  19   Nissan USA has been aware of the defect since at least 2004 as a
  20   result of information exclusively in its possession, including pre-
  21   production testing, pre-production design failure mode and analysis
  22   data, production design failure mode and analysis data, early
  23   consumer complaints, and aggregate data from retailers.          (Id. ¶ 37;
  24   see also Pifko Decl., Exs. 7, 17, 18, 19, 21).)         Plaintiffs allege
  25   that despite this knowledge, Nissan USA continued to install the
  26   defective component while concealing its knowledge so that the
  27   warranty period would expire before owners became aware of the
  28   problem.   (FAC ¶ 8.)

                                             3
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 4 of 35 Page ID #:4816



   1        In support of these contentions, Plaintiffs allege that Nissan
   2   USA redesigned one of the defective TCTS components in 2006 and
   3   2007, correcting the defect, but without informing consumers.           (Id.
   4   ¶¶ 39-43.)   Plaintiffs further point to a series of three Technical
   5   Service Bulletins (“TSBs”) issued by Nissan USA, beginning July 17,
   6   2007, instructing technicians to replace TCTS component parts in
   7   the case of whining or buzzing noises.        (Id. ¶¶ 44-49; see also
   8   Pifko Decl., Ex. 16).)     Additionally, Plaintiffs point to
   9   complaints by drivers to the National Highway Traffic Safety
  10   Administration (“NHTSA”), which Plaintiffs allege that Nissan USA
  11   monitors regularly, between 2006 and 2010.        (Id. ¶¶ 50, 52.)
  12        In the case of each Plaintiff, the repairs were undertaken
  13   outside of the vehicles’ 5-year, 50,000-mile powertrain warranty.
  14   (Id. ¶¶ 57, 58, 65, 74.)     Plaintiffs allege that they heard
  15   “whining,” “buzzing,” and “ticking” during the warranty period,
  16   which were symptomatic of the TCTS defect, and that they would have
  17   demanded that the Defendants repair the vehicles during the
  18   warranty period had they been made aware of the nature and extent
  19   of the problem.
  20        Based on the facts described above, Plaintiffs asserted six
  21   causes of action against Defendants: (1) violation of California's
  22   Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750 et
  23   seq.; (2) violation of California’s Unfair Competition Law (“UCL”),
  24   Cal. Bus. & Prof. Code §§ 17200 et seq.; (3) violation of
  25   Washington Consumer Protection Act (“CPA”), RCW 19.86 et seq.; (4)
  26   breach of implied warranty pursuant to the Song–Beverly Consumer
  27   Warranty Act, Cal. Civ. Code § 1792 and 1791.1 et seq.; (5) Fraud;
  28   and (6) Unjust Enrichment.

                                             4
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 5 of 35 Page ID #:4817



   1           Now, Plaintiffs have brought a motion to certify three classes
   2   under Federal Rule of Civil Procedure 23(b)(3): (1) the “California
   3   Statutory Class,” consisting of all California residents who
   4   purchased or leased a class vehicle in California and who have
   5   incurred actual expenses in connection with either the diagnosis or
   6   repair of the defective timing chain system; (2) the “California
   7   Fraud and Breach of Warranty Class,” consisting of all California
   8   residents who currently own or lease a class vehicle in California
   9   and who have not yet had the defective timing chain system fully
  10   repaired; and (3) the “Washington Class,” consisting of all
  11   Washington residents who purchased or leased a class vehicle in
  12   Washington and who have incurred actual expenses in connection with
  13   either the diagnosis or repair of the defective timing chain
  14   system.    (Mot. Certify Class, dkt. no. 134, at 9.)
  15           According to Plaintiffs, all class vehicles use a uniform
  16   timing chain system — the same slack guide, secondary chain, and
  17   secondary tensioners — and they all have the same defect.          (Id. at
  18   4-5.)    All class vehicles came with either a ZV5 or ZV7 engine, and
  19   those engines shared an identical timing chain system.          (Id. at 5
  20   (citing Pifko Decl., Exs. 20, 21, 24).)        Both engines had the same
  21   defective slack guide, secondary timing chain, and secondary
  22   tensioners for the relevant class years and class vehicle models.
  23   (Id. (citing Pifko Decl., Exs. 3, 24).)
  24           Plaintiffs argue that any countermeasures Defendants took
  25   during the class years were attempts to fix the defect, but the
  26   countermeasures failed to fix the defect, which is why Nissan
  27   ultimately redesigned the system.         (Id. at 6-7.)   Plaintiffs
  28   maintain that Defendants knew about this defect as early as 2003

                                             5
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 6 of 35 Page ID #:4818



   1   based on internal communications.         (Id. (citing Pifko Decl., Exs.
   2   11, 17).)
   3         Defendants oppose certification of all three classes.          (Opp’n,
   4   dkt. no. 147.)    Defendants argue that Plaintiffs are lumping
   5   together two separate issues with two different components in two
   6   different timing chain systems. (Id. at 1.)         According to
   7   Defendants, Plaintiffs misunderstand the evidence because (1) not
   8   all class vehicles came with the same primary timing chain slack
   9   guide design; (2) not all class vehicles came with the same
  10   secondary timing chain; (3) even for those class vehicles that came
  11   with the same secondary timing chain design, a manufacturing
  12   variation caused issues with a small percentage of vehicles.           (Id.)
  13   II.   LEGAL STANDARD
  14         The party seeking class certification bears the burden of
  15   showing that each of the four requirements of Rule 23(a) and at
  16   least one of the requirements of Rule 23(b) are met.          See Meyer v.
  17   Portfolio Recovery Assocs., LLC, 707 F.3d 1036, 1041 (9th Cir.
  18   2012); Hanon v. Dataprods. Corp., 976 F.2d 497, 508-09 (9th Cir.
  19   1992).   In determining whether to certify a class, a court must
  20   conduct a “rigorous analysis” to determine whether the party
  21   seeking certification has met the prerequisites of Rule 23 of the
  22   Federal Rules of Civil Procedure.         Valentino v. Carter-Wallace,
  23   Inc., 97 F.3d 1227, 1233 (9th Cir. 1996).         Rule 23(a) sets forth
  24   four prerequisites for class certification:
  25         (1)   the class is so numerous that joinder of all members
                   is impracticable;
  26         (2)   there are questions of law or fact common to the
                   class;
  27         (3)   the claims or defenses of the representative parties
                   are typical of the claims or defenses of the class;
  28               and

                                             6
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 7 of 35 Page ID #:4819



   1        (4)    the representative parties will fairly and adequately
                   protect the interests of the class.
   2
       Fed. R. Civ. P. 23(a); see also Hanon, 976 F.2d at 508.          These
   3
       four requirements are often referred to as (1) numerosity, (2)
   4
       commonality, (3) typicality, and (4) adequacy.         See General Tel.
   5
       Co. v. Falcon, 457 U.S. 147, 156 (1982).
   6
            In determining the propriety of a class action, the question
   7
       is not whether the plaintiff has stated a cause of action or will
   8
       prevail on the merits, but rather whether the requirements of Rule
   9
       23 are met.    Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 178
  10
       (1974).    This Court, therefore, considers the merits of the
  11
       underlying claim to the extent that the merits overlap with the
  12
       Rule 23(a) requirements, but will not conduct a “mini-trial” or
  13
       determine at this stage whether Plaintiffs could actually prevail.
  14
       Ellis v. Costco Wholesale Corp., 657 F.3d 970, 981, 983 n.8 (9th
  15
       Cir. 2011); see also Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,
  16
       131 S. Ct. 2541, 2551-52 (2011).
  17
            Rule 23(b) defines different types of classes.          Leyva v.
  18
       Medline Indus. Inc., 716 F.3d 510, 512 (9th Cir. 2012).          Relevant
  19
       here, Rule 23(b)(3) requires that “questions of law or fact common
  20
       to class members predominate over individual questions . . . and
  21
       that a class action is superior to other available methods for
  22
       fairly and efficiently adjudicating the controversy.”          Fed. R.
  23
       Civ. P. 23(b)(3).
  24
       III. DISCUSSION
  25
            A.     Rule 23(a) Prerequisites
  26
  27
  28

                                             7
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 8 of 35 Page ID #:4820



   1        To show that class certification is warranted, Plaintiffs
   2   must show that all four prerequisites listed in Rule 23(a) are
   3   satisfied.
   4                1.   Numerosity
   5        Numerosity is satisfied if “the class is so numerous that
   6   joinder of all members is impracticable.”        Fed. R. Civ. P.
   7   23(a)(1).
   8        Plaintiffs argue that documents obtained through discovery
   9   show that thousands of timing chain systems have been repaired on
  10   class vehicles.    (Mot. at 10-11.)       Further, Plaintiffs claim that
  11   Nissan sold 768,333 class vehicles between December 2004 and
  12   September 2010.    (Id. at 10.)    Courts typically find the
  13   numerosity requirement satisfied when a class includes forty or
  14   more members.     Sibert v. TV Magic, Inc., No. CV 12-03404 DDP
  15   (MRWx), 2012 WL 3589795, at *2 (C.D. Cal. Aug. 21, 2012).           As
  16   there are more than forty potential class members, the Court finds
  17   this factor satisfied.
  18                2.   Commonality
  19        Commonality is satisfied if “there are questions of law or
  20   fact common to the class.”      Fed. R. Civ. P. 23(a)(2).      Note that
  21   this does not mean that all questions of law and fact must be
  22   identical across the class; “[t]he requirements of Rule 23(a)(2)
  23   have been construed permissively, and all questions of fact and
  24   law need not be common to satisfy the rule.”         Ellis v. Costco
  25   Wholesale Corp., 657 F.3d 970, 981 (9th Cir. 2011) (internal
  26   quotation marks and brackets omitted).        However, posing common
  27   questions of trivial fact is not enough: the “question” must be
  28   one that “will generate common answers apt to drive the resolution

                                             8
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 9 of 35 Page ID #:4821



   1   of the litigation.”     Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct.
   2   2541, 2551 (2011).
   3        Plaintiffs assert that there are common questions of law and
   4   fact across the classes, namely: “(a) whether the timing chain
   5   system in all Class Vehicles was defectively designed; (b) whether
   6   Nissan was aware of the defective timing chain system; (c) whether
   7   Nissan concealed the uniformly defective timing chain system; and
   8   (d) whether Nissan’s deceptive and fraudulent conduct was
   9   unlawful.”    (Mot. at 11.)
  10        Defendants argue that Plaintiffs have “failed to prove that
  11   all class members received the same timing chain system parts,
  12   much less that all of those parts have a common defect.”          (Opp’n
  13   at 10-11.)    Defendants claim that a class vehicle “could have one
  14   of four slack guides for the primary timing chain: (1) original
  15   unmodified; (2) original with barb height change; (3) original
  16   with barb height change and new mold process; and (4) new slack
  17   guide.”   (Id. at 11.)    Additionally, the class vehicles “could
  18   have one of two secondary timing chains: (1) original design or
  19   (2) new design”; Defendants also claim that the secondary timing
  20   chain suffers from “manufacturing variability.”         (Id.)   So,
  21   Defendants argue, there is no single defect, and thus no common
  22   issues, citing Johnson v. Harley-Davidson Motor Co. Grp. LLC, 285
  23   F.R.D. 573, 579-80 (E.D. Cal. 2012), and In re Ford Motor Co.
  24   Ignition Switch Prods. Liability Litigation, 174 F.R.D. 332, 343-
  25   44 (D.N.J. Aug. 28, 1997).
  26        Further, Defendants claim that there is no evidence to show
  27   Nissan USA or Nissan Japan were aware of timing chain issues “in
  28   the same way throughout the class period.”        (Opp’n at 11.)

                                             9
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 10 of 35 Page ID
                                 #:4822


 1   “[E]vidence indicates that at the time design responsibility was
 2   handed over from Nissan Japan to [Nissan USA] in March 2004 for
 3   the 3.5L engine and in July 2004 for the 4.0L engine, Nissan Japan
 4   believed that initial quality issues for the slack guide
 5   identified by the engine plant had been addressed.”        (Id. at 11-
 6   12.)   According to Defendants, Nissan USA only found issues with
 7   the system after warranty data was analyzed and then it determined
 8   design changes were desired.     (Id. at 11.)    This led Nissan USA
 9   and the supplier to take countermeasures, which Defendants
10   appeared to believe would be effective.       (Id.)    Thus, according to
11   Defendants, there are no common issues underlying all the
12   potential class vehicles as to design, defect, and knowledge.
13          Plaintiffs’ Reply argues there is no evidence that points to
14   manufacturing variability rather than a defect — and further, that
15   even accounting for manufacturing variability, there could also be
16   a design problem, and so commonality still exists through the
17   class.   (Reply at 6-9 (citing Keegan v. Am. Honda Motor Co., Inc.,
18   284 F.R.D. 530, 33 (C.D. Cal. 2012); Dkt. No. 135, Pifko Decl.,
19   Exs. 1, 5, 6, 7, 9, 11, 17, 20, 21; Dkt. No. 153, Reply Pifko
20   Decl., Ex. 12, 36).)    Further, Plaintiffs argue that no Nissan
21   engineers support Defendants’ theory that there was merely a
22   production problem because the engineers all point to a design
23   problem.   (Id. at 8-9 (citing exs. to Dkt. No. 135, Pifko Decl.;
24   exs. to Dkt. No. 153, Reply Pifko Decl.).)
25          The Court finds this case raises similar common questions of
26   fact and law to the common questions alleged in another consumer
27   automobile defect class certification case, Chamberlan v. Ford
28   Motor Co., 402 F.3d 952, 962 (9th Cir. 2005).         That case denied an

                                         10
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 11 of 35 Page ID
                                 #:4823


 1   interlocutory appeal of a grant of class certification.         The Ninth
 2   Circuit held the lower court’s decision was not manifestly
 3   erroneous, particularly as the district court had listed examples
 4   of common issues, such as whether there was defect design, whether
 5   Ford had knowledge of the defects, and other questions similar to
 6   the ones Plaintiffs present here.        See id.   In these consumer
 7   defect cases, commonality can be found in the very legal and
 8   factual question of the defect.      See, e.g., id.; see also Wolin v.
 9   Jaguar Land Rover N. Am. LLC, 617 F.3d 1168, 1172 (9th Cir. 2010);
10   Doyle v. Chrysler Grp. LLC, No. SACV 13-00620, 2014 WL 7690155, at
11   *6-7 (C.D. Cal. Oct. 9, 2014); Parkinson v. Hyundai Motor Am., 258
12   F.R.D. 580, 595-96 (C.D. Cal. 2008).       Here, the same defect is
13   alleged across all class vehicles, and the assertion is supported
14   by sufficient evidence at this juncture as shown by the
15   Plaintiffs’ cited exhibits.     Therefore, the Court finds that
16   Plaintiffs have satisfied the commonality requirement.
17             3.     Typicality
18        Typicality is satisfied if “the claims or defenses of the
19   representative parties are typical of the claims or defenses of
20   the class.”    Fed. R. Civ. P. 23(a)(3).     “The purpose of the
21   typicality requirement is to assure that the interest of the named
22   representative aligns with the interests of the class.         Typicality
23   refers to the nature of the claim or defense of the class
24   representative, and not to the specific facts from which it arose
25   or the relief sought.    The test of typicality is whether other
26   members have the same or similar injury . . . .”        Hanon v.
27   Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992) (internal
28   quotation marks omitted) (citations omitted) (emphasis added).

                                         11
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 12 of 35 Page ID
                                 #:4824


 1          Plaintiffs argue that the named Plaintiffs’ claims are
 2   typical because all claims in the classes arise from Nissan’s
 3   concealment of the same defective timing chain system.         (Mot. at
 4   12.)   Plaintiffs cite to Wolin for the proposition that there is
 5   typicality when the same defect is alleged across a consumer
 6   class.   (Id. (citing Wolin, 617 F.3d at 1175); see also Doyle, No.
 7   SACV 13-00620, 2014 WL 7690155, at *7; In re Toyota Motor Corp.
 8   Unintended Acceleration Marketing, Sales Practices, and Prods.
 9   Liability Litigation, No. 8:10ML2151 JVS, 2012 WL 7802852, at *2-3
10   (C.D. Cal. Dec. 28, 2012).     Further, Plaintiffs claim, because the
11   same defective timing chain system was installed in all the class
12   vehicles, it does not matter that the class contains people who
13   own vehicle models that are not identical to the models owned by
14   the named Plaintiffs.    (Mot. at 12 (citing Sharma v. BMW of N.
15   Am., LLC, No. C-13-2274 MMC, 2015 WL 82534, at *2 (N.D. Cal. Jan.
16   6, 2015)(pleading stage).)
17          Defendants counter that the overbreadth of the proposed
18   classes is a problem for typicality.      For instance, no named
19   Plaintiff is a member of the Washington class as presently defined
20   by Plaintiffs because none are Washington residents.         (Opp’n at 13
21   (citing Estate of Felts v. Genworth Life Ins. Co., 250 F.R.D. 513,
22   524 (W.D. Wa. 2008)(“Class membership is a minimal prerequisite to
23   a finding of typicality.”).)     Further, Defendants argue, none of
24   the named Plaintiffs leased a vehicle.       (Id.)    Lastly, Defendants
25   claim that the vehicles here are not like those in Wolin because
26   the vehicles here do not possess a single common defect that
27   unites the claims of all class members.       (Id.)    Therefore,
28

                                         12
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 13 of 35 Page ID
                                 #:4825


 1   Defendants claim there is no typicality because the classes could
 2   have different part configurations.
 3        Plaintiffs concede that the Washington class, as currently
 4   defined in the moving papers, does require Washington residence
 5   and no named Plaintiff is a current Washington resident.         (Reply
 6   at 16 & n.18.)   However, Plaintiffs argue that Plaintiff Falco
 7   should be a member of the Washington class because he purchased
 8   his vehicle there.    (Id. (citing Dkt. No. 135, Pifko Decl., Ex. 30
 9   at 288).)   Because Washington’s Consumer Protection Act (“CPA”)
10   does not have a substantive residency requirement, Plaintiffs
11   argue that Plaintiff Falco would be typical of such a CPA claim.
12   (Id. (citing Wash. Rev. Code § 19.86.010; Pierce v. NovaStar
13   Mortg., Inc., 238 F.R.D. 624, 626 (W.D. Wa. 2006)(providing
14   elements of CPA action).)     Therefore, Plaintiffs ask the Court to
15   modify the proposed Washington class definition so that it
16   includes individuals like Falco who bought or leased a class
17   vehicle in Washington but who may not be Washington residents.
18        Plaintiffs further argue that the interests of the class and
19   the named Plaintiffs need not be identical, so it should not
20   defeat class certification that none of the named Plaintiffs
21   leased a vehicle.    (Id. at 16-17.)     All that is needed for
22   typicality is the same legal theory, so minor factual differences
23   do not defeat typicality.     (Id. (citing Wolin, 617 F.3d at 1175).)
24   Because Plaintiffs are not asking for vehicle buybacks, a recall,
25   or other forms of relief perhaps not available to leased vehicles,
26   there are no differences in remedies; Plaintiffs seek “economic
27   compensation for out-of-pocket costs they incurred and/or amount
28

                                         13
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 14 of 35 Page ID
                                 #:4826


 1   by which they each overpaid for a vehicle that was less safe than
 2   Nissan claimed.”    (Id. at 16.)
 3        The Court finds that as presently defined, no named Plaintiff
 4   is a member of the Washington class.      Further, the statute only
 5   covers “any commerce directly or indirectly affecting the people
 6   of the state of Washington.”     Wash. Rev. Code § 19.86.010(2).
 7   Courts applying Washington’s CPA have understood this statutory
 8   section to provide something akin to a standing requirement: The
 9   plaintiff must show some effect on the people of Washington, such
10   that a nonresident plaintiff’s claim under the CPA for a
11   defendant’s actions not taken in Washington is not likely to be
12   covered by the statute’s reach.      See, e.g., Malmquist v. OMS Nat’l
13   Ins. Co., No. CV 09-1309-PK, 2010 WL 5621358, at *12-13 (D. Or.
14   Dec. 28, 2010) (citing Schnall v. AT&T Wireless Servs., Inc., 225
15   P.3d 929,939 (Wash. 2010) (en banc), superseded on reconsideration
16   by 259 P.3d 129 (2011) (en banc)).
17        Here, while Falco is not a Washington resident, he did
18   purchase his vehicle in that state when he was a resident of that
19   state.   Other Washington residents and nonresidents have purchased
20   Nissan vehicles in Washington as well, which constitutes commerce
21   directly effecting people of Washington because the sale occurred
22   in the state.    Because residency is not a substantial requirement
23   for application of Washington’s CPA, it appears that the Court
24   could remove the residency requirement from the class definition
25   and simply require that the class vehicle be leased or purchased
26   in Washington.     Therefore, the Court will construe the class
27   definition as: All purchasers or lessors of a Class Vehicle who
28   purchased or leased the vehicle in Washington and who have

                                         14
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 15 of 35 Page ID
                                 #:4827


 1   incurred expenses in connection with either the diagnosis or
 2   repair of the defective timing chain system.
 3        The other two classes meet the typicality requirement; named
 4   Plaintiffs are members of the class and have the same interests as
 5   other class members, and no particular defenses are alleged
 6   against any of them that would detract from the class.         The fact
 7   that not all class vehicle models or any lessees are represented
 8   does not defeat typicality because the legal interests are the
 9   same across all potential class members.       Therefore, the Court
10   finds this factor satisfied.
11              4.   Adequacy
12        Adequacy of representation is satisfied if “the
13   representative parties will fairly and adequately protect the
14   interests of the class.”     Fed. R. Civ. P. 23(a)(4).     Inasmuch as
15   it is conceptually distinct from commonality and typicality, this
16   prerequisite is primarily concerned with “the competency of class
17   counsel and conflicts of interest.”      Gen. Tel. Co. of Southwest v.
18   Falcon, 457 U.S. 147, 158 n.13 (1982).       Thus, “courts must resolve
19   two questions: (1) do the named plaintiffs and their counsel have
20   any conflicts of interest with other class members and (2) will
21   the named plaintiffs and their counsel prosecute the action
22   vigorously on behalf of the class?”      Ellis, 657 F.3d at 985.
23        Plaintiffs allege that there are no conflicts of interests on
24   behalf of any of the named Plaintiffs or Plaintiffs’ counsel, and
25   that counsel is adequate for this litigation.        (Mot. at 13.)
26   Defendants’ arguments are limited to those for typicality.         (Opp’n
27   at 13.)   The Court finds the adequacy requirement met here because
28

                                         15
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 16 of 35 Page ID
                                 #:4828


 1   the named Plaintiffs and their counsel satisfy the Rule’s
 2   requirements.
 3         B.    Rule 23(b)(3)
 4         A class action may be certified under Rule 23(b)(3) if “the
 5   questions of law or fact common to class members predominate over
 6   any questions affecting only individual members, and that a class
 7   action is superior to other available methods for fairly and
 8   efficiently adjudicating the controversy.”       Fed. R. Civ. P.
 9   23(b)(3).   In making its findings on these two issues, courts may
10   consider “the class members’ interests in individually controlling
11   the prosecution or defense of separate actions,” “the extent and
12   nature of any litigation concerning the controversy already begun
13   by or against class members,” “the desirability or undesirability
14   of concentrating the litigation of the claims in the particular
15   forum,” and “the likely difficulties in managing a class action.”
16   Id.
17               1. Predominance
18         “The Rule 23(b)(3) predominance inquiry tests whether
19   proposed classes are sufficiently cohesive to warrant adjudication
20   by representation.”    Amchem Products, Inc. v. Windsor, 521 U.S.
21   591, 623 (1997).    “Even if Rule 23(a)'s commonality requirement
22   may be satisfied by [a] shared experience, the predominance
23   criterion is far more demanding.”        Id. at 623-24.   Predominance
24   cannot be satisfied if there is a much “greater number” of
25   “significant questions peculiar to the several categories of class
26   members, and to individuals within each category.”        Id. at 624.
27   However, Rule 23(b)(3) predominance “requires a showing that
28   questions common to the class predominate, not that those

                                         16
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 17 of 35 Page ID
                                 #:4829


 1   questions will be answered, on the merits, in favor of the class.”
 2   Amgen Inc. v. Connecticut Ret. Plans & Trust Funds, 133 S. Ct.
 3   1184, 1191 (2013).
 4                    i.   California Statutory Class
 5        The California statutory class alleges claims under
 6   California’s Consumers Legal Remedies Act (“CLRA”) and Unfair
 7   Competition Law (“UCL”).     (Mot. at 14, 16.)
 8                         (a)   CLRA Claim
 9        For the CLRA claim, Plaintiffs have to show that Defendants
10   had a duty to disclose the alleged defect because Defendants had
11   “exclusive knowledge of material facts.”       Collins v. eMachines,
12   Inc., 202 Cal. App. 4th 249, 255-56 (2011).       An express warranty
13   does not vitiate this duty if there is an unreasonable safety risk
14   caused by the lack of disclosure.        See In re Toyota Motor Corp.,
15   754 F. Supp. 2d 1145, 1191 n.25 (C.D. Cal. 2010).        Additionally,
16   CLRA claims require “each class member to have an actual injury
17   caused by the unlawful practice.”        Keegan, 284 F.R.D. at 529.
18   Causation, and an “inference of reliance,” for the class in a CLRA
19   claim “can be shown as to an entire class by proving materiality.”
20   Id. at 530-31.   “Whether an omission is material is a fact-
21   intensive question that asks whether ‘a reasonable man would
22   attach importance to its existence or nonexistence in determining
23   his choice of action in the transaction in question.’”         Id.
24   (quoting In re Steroid Hormone Prod. Cases, 181 Cal. App. 4th 145,
25   157 (2010)).
26        Plaintiffs argue that evidence such as internal emails and
27   the TSBs demonstrate that Nissan was aware of the timing chain
28   system defect, which created unreasonable safety risks, and the

                                         17
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 18 of 35 Page ID
                                 #:4830


 1   defect equally effects all the class vehicle engines; thus, common
 2   issues of fact and law predominate this claim.        (Mot. at 14-15
 3   (citing Dkt. No. 135, Pifko Decl., Exs. 7-10, 16, 17, 21, 25.)
 4   Further, Plaintiffs claim that causation and reliance can be
 5   proved on a class basis because the standard is an objective one,
 6   so the evidence need not be examined on an individual basis.          (Id.
 7   at 15.)
 8        Defendants argue that there is no common proof of Nissan’s
 9   knowledge of the defect because knowledge must be determined on a
10   per-transaction basis.    (Opp’n at 18.)     Defendants claim the same
11   problem exists for class members’ knowledge: the Court would need
12   to know about each sale and lease transaction to determine whether
13   there was a material misrepresentation or omission that is common
14   to the class.   (Id.)    Defendants further claim that the TSBs and
15   NHTSA complaints were freely available on the internet, so there
16   could be individualized knowledge issues for those consumers
17   exposed to such information.     (Id.)
18        Defendants also argue that, for causation purposes,
19   materiality varies amongst class members and so class
20   certification would be inappropriate.      (Id. at 20.)    This
21   variation among class members is shown by: “(1) the vast majority
22   never experience a timing chain problem; (2) the secondary timing
23   chain issue is largely limited to narrow production bands; (3)
24   when timing chain issues arise they manifest themselves as a noise
25   that consumers may not find troublesome; (4) the reported timing
26   chain issues do not disable the vehicle and provide plenty of
27   warning — by way of the extra noise — that repairs are necessary;
28   (5) the condition usually occurs only after the consumer has

                                         18
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 19 of 35 Page ID
                                 #:4831


 1   driven the car for tens of thousands of miles; and (6) there is no
 2   demonstrated real world safety effect.”       (Id.)    Lastly, Defendants
 3   argue that Plaintiffs offer “no survey evidence or expert
 4   testimony that all consumers would find the timing chain
 5   material.”   (Id.)
 6        In reply, Plaintiffs argue that materiality can be proved on
 7   a class basis.   (Reply at 21- 24.)      They claim that the class
 8   vehicles suffer from the same defect; the defect existed at the
 9   time of sale, as did the risks that the defect entailed; there was
10   a risk of catastrophic engine failure; the vehicles are less safe
11   and put consumers in a greater risk of harm than they would be
12   without the defect; and even if the safety risk is just engine
13   noise, the engine noise is a safety concern according to Nissan’s
14   own engineers.   (Id. at 22-23.)
15        The Court holds that common issues predominate for the CLRA
16   claims.   Common proof can be used to establish the elements of the
17   CLRA claim, such as whether Nissan had a duty to disclose the
18   alleged defect, whether there was an unreasonable safety risk, and
19   whether consumers would find such omission material in their
20   transaction.   The actual proof of common defect, or Defendants’
21   knowledge and subsequent actions, go to the merits of the claim,
22   but common evidence will be used to prove the claim either way.
23   Further, the evidence cited by Plaintiffs in their moving papers
24   is sufficient at this stage of the case to make out allegations
25   common among the class as to the alleged vehicle defects, the
26   effects the alleged defects could have on the vehicle in terms of
27   safety, and Nissan’s knowledge of the defect.         Therefore, common
28   issues predominate.

                                         19
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 20 of 35 Page ID
                                 #:4832


 1                         (b)   UCL Claim
 2          There are three potential bases for UCL claims because the
 3   statute “penalizes behavior that is ‘unlawful,’ ‘unfair,’ or
 4   ‘fraudulent.’”    Keegan, 284 F.R.D. at 533 (quoting Cel-Tech
 5   Comm’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal.4th 163, 178-81
 6   (1999)).    For the unlawful prong, plaintiffs must show an
 7   underlying violation of another law.      Id.   For the fraudulent
 8   prong, individual proof is not necessary to show deception,
 9   reliance, and injury because unlike common law fraud, the focus in
10   the UCL claim is on the defendant’s conduct, not the consumer’s
11   reaction.   Id.   In Keegan, the court explained that “a violation
12   of the UCL can be proved with common evidence regarding the nature
13   of the design defect in question, the likely effect of the defect
14   on class vehicles, its likely impact on vehicle safety, what [a
15   defendant] knew or did not know, and what it disclosed or did not
16   disclose to consumers.”     Id. at 534.   Lastly, the unfairness prong
17   is shown by a violation of “established public policy or if it is
18   immoral, unethical, oppressive or unscrupulous and causes injury
19   to consumers which outweighs its benefits.”       McKell v. Wash. Mut.,
20   Inc., 142 Cal. App. 4th 1457, 1473 (2006).
21          Plaintiffs argue all three prongs of the UCL are met here.
22   Plaintiffs first predicate the unlawful prong of their UCL claim
23   on Nissan’s violation of the CLRA, described above, and Nissan’s
24   Song-Beverly Warranty Act violations, described below.         (Mot. at
25   16.)   Plaintiffs base the fraudulent prong on their common law
26   fraud claims described below.     (Id.)   Plaintiffs claim that the
27   unfair prong would be proved by common evidence that would answer
28   “(a) when Nissan first became aware of the timing chain system

                                         20
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 21 of 35 Page ID
                                 #:4833


 1   Defect; (b) whether Nissan deliberately chose to withhold
 2   information about the timing chain system Defect; (c) why Nissan
 3   made the choice to deceive its consumers; (d) the impact that
 4   Nissan’s deceptive and fraudulent conduct had on consumers; (e)
 5   whether Nissan’s concealment created a safety risk for consumers;
 6   and (f) whether Nissan’s concealment violated any ‘legislatively’
 7   declared policies.”    (Id.)
 8          Plaintiffs explain that this will all be proved by common
 9   evidence because the “defective timing chain system is uniform
10   across all class vehicles” and all the evidence surrounding the
11   defect will thus relate to all members of the class.         (Id. at 16-
12   17.)   As with the CLRA, Plaintiffs claim they will show reliance
13   and injury for causation purposes with common evidence that (1)
14   Nissan knew of the defect; (2) Nissan did not disclose the defect
15   in order to save money; and (3) Nissan concealed the defect to
16   shift repair costs to vehicle owners or lessees after the end of
17   the warranty period, as well as to encourage purchase of the class
18   vehicles in the first place.     (Id. at 17.)
19          Defendants present the same arguments for the UCL claim as
20   for the CLRA claim.    For the UCL claim, Defendants note that
21   “[i]ndividual determinations would be needed to assess whether
22   class members are entitled to restitution” because restitution
23   requires an examination of what the Plaintiffs paid and the value
24   of Plaintiffs received.     (Opp’n at 19.)
25          Plaintiffs reply that the UCL claim does not require
26   individual determinations of deception, reliance, and injury for
27   restitution; instead, they must show that members of the public
28   are likely to be deceived by the defendant.       (Reply at 22 (citing

                                         21
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 22 of 35 Page ID
                                 #:4834


 1   In re Tobacco II Cases, 46 Cal. 4th 326, 312, 326 (2009)).)
 2   Further, Plaintiffs argue they are not seeking a full refund of
 3   the purchase price as restitution, so there are no individualized
 4   damages issues.    (Id.)
 5          The Court holds that, as with the CLRA claim, Plaintiffs can
 6   use common proof for their UCL claim.       First, Plaintiffs can rely
 7   on an underlying CLRA violation for their UCL claim, which alone
 8   is sufficient to allow this claim to go forward.        Second,
 9   Plaintiffs will use common evidence to make their fraud claim, as
10   described below.    Lastly, Plaintiffs have sufficiently alleged
11   that common proof would be used for the unfair prong of the UCL.
12   Defendants’ restitution argument will be addressed below.
13                     ii.   California Fraud and Breach of Warranty Class
14          This class also alleges two different causes of action:
15   common law fraud and breach of the implied warranty of
16   merchantability under the Song-Beverly Warranty Act.
17                           (a)   Breach of Warranty
18          The Song-Beverly Warranty Act’s implied warranty of
19   merchantability requires that the consumer goods “(1) Pass without
20   objection in the trade under the contract description. (2) Are fit
21   for the ordinary purposes for which such goods are used. (3) Are
22   adequately contained, packaged, and labeled. (4) Conform to the
23   promises or affirmations of fact made on the container or label.”
24   Cal. Civ. Code § 1791.1(a)(1)-(4).        For vehicles, the question “is
25   whether the vehicle is fit for driving.”       Keegan, 284 F.R.D. at
26   537.   “The implied warranty of merchantability may be breached by
27   a latent defect undiscoverable at the time of sale.”         Mexia v.
28

                                          22
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 23 of 35 Page ID
                                 #:4835


 1   Rinker Boat Co., 174 Cal. App. 4th 1297, 1304-5 (2009)(collecting
 2   cases).
 3          Plaintiffs argue here that the class vehicles were sold with
 4   same latent defect, and thus the same likelihood of experiencing a
 5   timing system malfunction and safety risks.       (Mot. at 17-18.)
 6   “Again, the evidence that demonstrates this is applicable across
 7   the board because Nissan itself addressed the timing chain system
 8   Defect as a single problem common to all Class Vehicles.”         (Id. at
 9   18).
10          Defendants argue that “a mere theoretical defect that does
11   not result in any malfunction does not state a merchantability
12   claim.”   (Opp’n at 15 (citing Taragan v. Nissan N. Am., Inc., No.
13   C 09-3660 SBA, 2013 WL 3157918, at (N.D. Cal. June 20, 2013).)
14   According to Defendants, the evidence shows that “only a small
15   percentage of vehicles ever displayed a timing chain problem,”
16   thus demonstrating that “manifestation on a classwide basis”
17   cannot be established. (Id. (citing Padmanaban Dec. ¶¶ 7.1-7.4;
18   App’x 1-4).)   Further, Defendants argue that the timing chain
19   system’s problems do not make the vehicles unsafe; rather, when
20   the problem manifests, it is merely as engine noise.         (Id.)
21   Defendants point out that the named Plaintiffs responded
22   differently to the engine noise, and none had serious safety
23   issues.   (Id. at 16.)   Lastly, Defendants claim that whether a
24   class member was injured would be an individual determination, as
25   would the timeliness of the claims brought; Defendants claim that
26   the implied warranty of merchantability is limited to the duration
27   of the express warranty.     (Id. at 17-18.)
28

                                         23
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 24 of 35 Page ID
                                 #:4836


 1        Plaintiffs respond that there is the same defect for all the
 2   alleged class vehicles when they left Nissan’s factory, and this
 3   common defect — not the further manifestation of engine failure —
 4   is sufficient for showing common questions of fact and law
 5   predominate.   (Reply at 17-18.)     The timing chain system problem
 6   was a latent defect, Plaintiffs argue, that made the engine
 7   “susceptible to premature wear.”      (Id. at 17.)    For the timeliness
 8   issue, Plaintiffs point to California and Ninth Circuit precedent
 9   holding that the implied warranty can extend longer than an
10   express warranty for latent defects that otherwise would not
11   appear in the express warranty time period.       (Id. at 17-19 (citing
12   Daniel v. Ford Motor Co., 806 F.3d 1217, 1222-23 (9th Cir. 2015);
13   Mexia, 174 Cal. App. 4th at 1305-06).)
14        The Court finds that the breach of the implied warranty of
15   merchantability claim is predominated by common questions of fact
16   and law.   The court in Keegan illustrated how the manifestation of
17   the defect was a “merits inquiry” that was “particularly suited to
18   resolution as a class action.”      284 F.R.D. at 537.    If Defendants
19   can show that the allegedly defective design is not “substantially
20   certain” to result in the manifestation of “premature wear” on the
21   engine, as Plaintiffs claim it will, then Defendants will prevail
22   in this cause of action as against the class.        Since this merits
23   question would be answered either way in a manner common to the
24   class, the Court holds this question suitable for class
25   certification.
26                         (b)   Fraud
27        Common law fraud in California requires Plaintiffs to show:
28   “a false representation, knowledge of its falsity, intent to

                                         24
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 25 of 35 Page ID
                                 #:4837


 1   defraud, justifiable reliance, and damages.”       Vess v. Ciba-Geigy
 2   Corp. USA, 317 F.3d 1097, 1105 (9th Cir. 2003)(internal quotation
 3   omitted).
 4        Plaintiffs claim common evidence will show classwide fraud.
 5   (Mot. at 18-19.)    “Evidence showing that Nissan refused to timely
 6   correct the defective timing chain system and, instead, knowingly
 7   sold Class Vehicles containing the defective system to the public
 8   is applicable classwide.”     (Id. at 18.)    Further, Plaintiffs argue
 9   that there is a presumption of reliance here because the claim is
10   based on a material fraudulent omission by Nissan.        (Id. at 19
11   (citing Plascencia v. Lending 1st Mortg., 259 F.R.D. 437, 447
12   (N.D. Cal. 2009).)    Plaintiffs claim that they will use common
13   evidence to show: “(a) Nissan was aware that the timing chain
14   system was defective and dangerous; (b) Nissan deliberately
15   withheld such information; and, if so, whether (c) a reasonable
16   person would find such information important in deciding whether
17   to purchase a Class Vehicle.”     (Id.)
18        Defendants address the common law fraud claim with the same
19   arguments as were brought against the California statutory class
20   discussed above.    Particular to this claim, Defendants argue that
21   “[a] common law fraud claimant must establish actual reliance upon
22   the alleged representation or omission” and that there is no
23   presumption of reliance applicable here because such a presumption
24   is limited to certain claims, such as securities fraud.         (Opp’n at
25   18-19 (citing Desai v. Deutsche Bank Secs. Ltd., 573 F.3d 931,
26   941-42 (9th Cir. 2009); Mirkin v. Wasserman, 5 Cal. 4th 1082, 1093
27   (1993).)
28

                                         25
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 26 of 35 Page ID
                                 #:4838


 1           The Court holds the common law fraud class is appropriate to
 2   determine on a classwide basis.      The California Supreme Court in
 3   Mirkin noted that there are instances of consumer class actions
 4   where the Court found the presumption appropriate because “[t]he
 5   plaintiffs in each case specifically pled that the defendants had
 6   made identical representations to each class member.”         Mirkin, 5
 7   Cal. 4th at 1094.    Further, Plaintiffs have cited other cases
 8   besides securities cases where the presumption applied.         (See
 9   Reply at 20.)    Thus, Plaintiffs can overcome the causation and
10   reliance common proof hurdle.     Plaintiffs’ other arguments of
11   common proof for Defendants’ knowledge and concealment of the
12   defect, and that such a defect was material to the class members,
13   apply with equal force here as for their other causes of action,
14   making this cause of action appropriate for class certification.
15                     iii. Washington Class
16           The Washington Consumer Protection Act (“CPA”) class must
17   show “(1) an unfair or deceptive act or practice; (2) occurring in
18   trade or commerce; (3) that impacts the public interest; (4) and
19   causes injury to the plaintiff in his or her business or property;
20   and (5) such injury is causally linked to the unfair or deceptive
21   act.”    Pierce v. NovaStar Mortg., Inc., 238 F.R.D. 624, 626 (W.D.
22   Wash. 2006). Courts have held that causation and reliance can be
23   presumed in cases where there is an allegation that the defendant
24   made a material omission.     Id. at 629-30; see also Grays Harbor
25   Adventist Christian Sch. v. Carrier Corp., 242 F.R.D. 568, 573
26   (W.D. Wash. 2007).
27           Plaintiffs argue here, just as they did with the California
28   classes, that all evidence will be common regarding whether Nissan

                                         26
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 27 of 35 Page ID
                                 #:4839


 1   withheld the defect from the public.       (Mot. at 20-21.)    Plaintiffs
 2   claim that there will also be common proof of injury because the
 3   defect is common across all class vehicles.       (Id.)   Lastly,
 4   Plaintiffs rely on the presumption of reliance for common proof of
 5   causation.    (Id.)
 6        Defendants’ Opposition does not provide any argument that the
 7   Washington class fails the predominance test; however, it does
 8   note that the CPA requires proof of causation.        (Opp’n at 19.)
 9        The Court finds that there are common issues of fact and law
10   present for the Washington class, particularly as Defendants have
11   failed to provide any argument to counter Plaintiff’s arguments
12   and alleged evidence of common defects.       Just as with the
13   California classes, there is common evidence of defect, knowledge,
14   and materiality of Defendants’ omission cited by Plaintiffs in the
15   Pifko declaration.     Further, the presumption of reliance based on
16   the identical material omission is sufficient basis of common
17   proof for reliance and causation.        Therefore, there are common
18   issues among the class.
19                    iv.   Classwide Damages
20        In Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1433 (2013),
21   the Supreme Court clarified the standard for establishing
22   classwide damages.     The Ninth Circuit has explained that Comcast
23   requires that “plaintiffs must be able to show that their damages
24   stemmed from the defendant’s actions that created the legal
25   liability.”   Leyva v. Medline Indus., Inc., 716 F.3d 510, 514 (9th
26   Cir. 2013).
27        Plaintiffs first argue that “[t]he fact that some Class
28   Vehicles have not yet experienced problems associated with the

                                         27
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 28 of 35 Page ID
                                 #:4840


 1   defective timing chain system is, on its own, insufficient to
 2   defeat commonality or predominance,” citing Wolin, 617 F.3d at
 3   1773, and Keegan, 284 F.R.D. at 524, as drawing a distinction
 4   between “the nature of the defect and [the defect’s]
 5   consequences.”    (Mot. at 21-22.)    Plaintiffs acknowledge that
 6   manifestation of the alleged defect would be relevant to the
 7   extent of potential damages after trial.       (Id. at 22-23.)
 8        Plaintiffs also argue that they allege two damages models
 9   that comply with the Supreme Court’s requirements in Comcast.
10   (Id. at 23.)     Plaintiffs claim the California Statutory class and
11   the Washington class are entitled to restitution for amounts spent
12   to diagnose and repair the defective timing chain systems.         (Id.)
13   Plaintiffs argue this model complies with Comcast because “it is
14   consistent with Plaintiffs’ theory and calculating the amount of
15   money expended in connection with the diagnosis and/or repair of
16   the defective timing chain system can be accomplished by applying
17   economic principles to common, classwide evidence.”        (Id. at 23-24
18   (citing Pifko Decl., Ex. 26 at 232-7).)
19        Plaintiffs argue that the California Fraud and Breach of
20   Warranty class is entitled to “benefit of the bargain damages.”
21   (Id. at 24.)     Plaintiffs’ theory is that “Nissan’s fraudulent
22   behavior induced them to purchase Class Vehicles that did not
23   comport with their safety expectations, and had Nissan disclosed
24   the existence of the defective timing chain system or the high
25   costs of repair, they would have paid less.”       (Id.)   The class
26   members “who have not yet paid to repair the timing chain defect
27   will receive the benefit of the bargain if the defective timing
28   chain system is repaired.”     (Id. at 24-25.)    Thus, Plaintiffs

                                          28
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 29 of 35 Page ID
                                 #:4841


 1   claim, “under the benefit of the bargain or cost of repair model,
 2   damages consist of the average amount each member can expect to
 3   pay to have the defective timing chain system repaired at an
 4   authorized Nissan dealership.”     (Id. (citing Pifko Decl., Ex. 26
 5   at 232-7).)
 6        Defendants argue that the California Statutory and Washington
 7   classes’ proposed damages — the costs of diagnosis and repair of
 8   the defect — are rife with individual issues.        (Opp’n at 21-22.)
 9   Defendants also object to the proposed damages for the California
10   Fraud and Breach of Warranty class, claiming that Plaintiffs’
11   expert made a flawed model by “applying some sort of average
12   repair costs” as the measure of damages.       (Id. at 22.)    This
13   “benefit of the bargain” is the wrong measure of damages because
14   class members never bargained for a vehicle free of all defects,
15   Defendants argue, and the end of the express warranty period
16   shifts the risk of repairs from Defendants to consumers.         (Id. at
17   22-23.)
18        Further, Defendants argue that restitution is not the same as
19   the costs of actual or average repairs; instead, it is measured by
20   the difference between the amount paid and the value received.
21   (Id. at 23.)   Because class members have a wide variety of
22   individual scenarios for this damages measure caused by different
23   prices paid, different levels of value received, and different
24   repair costs, there is no single formula that could be applied to
25   the classes. (Id.)
26        Plaintiffs maintain that the presence of individualized
27   damages alone does not defeat class certification.        (Reply at 24
28   (citing Pulaski & Middleman, LLC v. Google, Inc., 802 F.3d 979,

                                         29
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 30 of 35 Page ID
                                 #:4842


 1   987 (9th Cir. 2015).)      Plaintiffs explain that their damages
 2   expert, after further discovery, can perform a classwide remedies
 3   analysis for the right part numbers3 in order to show average
 4   repair costs.      (Id. & n.26 (citing Dkt. No. 135, Pifko Decl., Ex.
 5   26).)      Plaintiffs further argue that their measure of “benefit of
 6   the bargain” damages is appropriate because “[m]embers of this
 7   Class bargained for vehicles that were safer than they were at the
 8   time of sale, and overpaid by the amount of money necessary to
 9   make the vehicles conform (i.e., the cost of repairs).”         (Id. at
10   25.)       Lastly, Plaintiffs rely on Pulaski to show that “[w]here
11   plaintiffs are ‘deceived by misrepresentations into making a
12   purchase,’ restitution is based on ‘what a purchaser would have
13   paid at the time of purchase had the purchaser received all the
14   information.’” (Id. (quoting Pulaski, 802 F.3d at 988-89).)
15           Here, the Court finds that Plaintiffs have sufficiently
16   alleged common damages formulas for the three classes.         The class
17   vehicles are alleged to have a common defect that the California
18   Statutory and Washington classes all had repaired, thus spending
19   money that they would not have needed to spend had Nissan either
20   disclosed the defect or repaired itself.       Thus, return of the
21   average cost of repair would provide restitution to these class
22   members because they have already spent that money to repair or
23   diagnose their vehicles.      The same is true for the California
24   Fraud and Breach of Warranty classes.      By receiving restitution in
25
26          3
               Plaintiffs acknowledge Defendants’ objection that
27   Plaintiffs’ expert included the wrong vehicle parts in her
     analysis, but argue that “Thompson is able to perform a classwide
28   remedies analysis once the proper experts and/or trier of facts
     provides her with the pertinent part numbers.” (Reply at 24 n.26.)

                                          30
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 31 of 35 Page ID
                                 #:4843


 1   the amount of average repairs, the class would be getting the
 2   benefit of their bargain because they would be put in the same
 3   position they would have been had the car not been sold with the
 4   defective timing chain system — it is the cost necessary to make
 5   the vehicles conform to the value Plaintiffs thought they were
 6   getting in the price tendered.
 7               2.   Superiority
 8        Rule 23(b)(3) also requires a class action to be “superior to
 9   other available methods for fairly and efficiently adjudicating
10   the controversy.”    Fed. R. Civ. P. 23(b)(3).     The Rule further
11   provides four factors the Court must consider in Rule 23(b)(3)(A)
12   through (D):
13        (A)   the class members’ interests in individually
                controlling the prosecution or defense of separate
14              actions;
          (B)   the extent and nature of any litigation concerning
15              the controversy already begun by or against class
                members;
16        (C)   the desirability or undesirability of concentrating
                the litigation of the claims in the particular forum;
17              and
          (D)   the likely difficulties in managing a class action.
18
19        Plaintiffs primarily argue that “recovery on an individual
20   basis would be dwarfed by the cost of litigating on an individual
21   basis.”    (Mot. at 25.)
22        Defendants argue that Plaintiffs do not “seriously consider”
23   the four factors from the Federal Rules of Civil Procedure.
24   (Opp’n at 24.)   Particularly, Defendants argue that the practical
25   problems for the class suit are “overwhelming.”        (Id.)   Defendants
26   give a host of questions Defendants claim are individual and
27   require specific, individual facts to answer.        (Id.)   Also,
28   Defendants argue they may assert individual defenses, although

                                         31
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 32 of 35 Page ID
                                 #:4844


 1   they do not provide an example of any.        (Id.)   Lastly, Defendants
 2   claim that small damages are insufficient to make a class action
 3   appropriate, particularly because individual actions are a viable
 4   alternative here.    (Id. at 25.)    Defendants claim that, for
 5   example, CLRA cases are litigated on an individual basis
 6   regularly, and attorneys’ fees are available in those actions.
 7   (Id.)
 8        Plaintiffs maintain that the factors in the Rule are all met
 9   and the class action is the superior litigation choice based on
10   the size of the class and the potentially small individual
11   damages.   (Reply at 25.)    Plaintiffs argue “it is unreasonable to
12   expect Class Members who cannot afford to repair the timing chain
13   system defect can undertake the burden of pursuing . . . the
14   matter in smalls claims court” in courts of general jurisdiction
15   without fee-shifting.    (Id.)    Further, Plaintiffs claim that
16   “Nissan’s litany of questions that make the case individual are
17   assuming false facts.”    (Id.)     Namely, Plaintiffs maintain that
18   “[a]ll Class Vehicles exhibited the same timing chain system
19   defect that created the same risks of catastrophic engine failure
20   and bodily harm” and that “Nissan knew of the defect throughout
21   the Class Period, but consistently failed to divulge this
22   information.”   (Id.)
23        The Court finds that the class action is a superior
24   litigation vehicle for this case.         The class members have an
25   interest in prosecuting the case, particularly because it involves
26   vehicle safety, but there is little incentive to do so
27   individually with small potential damages available.         And
28   prosecuting this case as a class would provide notice to other

                                          32
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 33 of 35 Page ID
                                 #:4845


 1   class members regarding potentially needed repairs and safety
 2   concerns.   Further, there is no evidence of pre-existing
 3   litigation by or against the class members.       Concentrating the
 4   claims in one forum is desirable because it resolves common legal
 5   and factual issues, thus reducing inefficiencies in the use of
 6   judicial resources.    Lastly, these kinds of vehicle consumer
 7   defect class action cases are brought fairly regularly, and there
 8   are no particular difficulties in managing such class actions when
 9   appropriate.   Therefore, the Court holds this requirement is met.
10        C.     Ascertainability
11        Although not strictly a part of the requirements of Rule 23,
12   courts have held that a threshold requirement for class
13   certification is that the class, as defined, “must be adequately
14   defined and clearly ascertainable before a class action may
15   proceed.”   Wolph v. Acer Am. Corp., 272 F.R.D. 477, 482 (N.D. Cal.
16   2011) (quoting Schwartz v. Upper Deck Co., 183 F.R.D. 672, 679–80
17   (S.D. Cal. 1999)).    The class definition should be “precise,
18   objective and presently ascertainable” such that “it is
19   administratively feasible to determine whether a particular person
20   is a class member.”    Id. (quotation marks and citations omitted).
21        However, the Manual for Complex Litigation indicates that the
22   concerns that motivate the ascertainability inquiry are less
23   pressing in an action under Rule 23(b)(1) or 23(b)(2) as compared
24   to a Rule 23(b)(3) action: “[b]ecause individual class members
25   must receive the best notice practicable and have an opportunity
26   to opt out, and because individual damage claims are likely, Rule
27   23(b)(3) actions require a class definition that will permit
28   identification of individual class members, while Rule 23(b)(1) or

                                         33
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 34 of 35 Page ID
                                 #:4846


 1   (b)(2) actions may not.”     Federal Judicial Center, Manual for
 2   Complex Litigation, Fourth, § 21.222 (2004).
 3        This action is brought under Rule 23(b)(3); therefore,
 4   Plaintiffs must show how individual class members will be
 5   identifiable.   Plaintiffs here claim that class members are
 6   ascertainable through ownership and lease records from Nissan,
 7   dealerships, and the Department of Motor Vehicles.        (Mot. at 10.)
 8   Further, Plaintiffs claim that class members will be identifiable
 9   through records concerning diagnosis and repair of the defective
10   timing chain system.    (Id.)
11        Defendants claim that there is a problem with
12   ascertainability because class membership depends on whether an
13   owner or lessee of a class vehicle paid for repairs and
14   diagnostics and there is no administratively feasible way to
15   identify those persons.     (Opp’n at 9.)    This is complicated,
16   Defendants claim, because “repairs may, and frequently do, occur
17   after the vehicle’s written warranty has expired,” and Nissan
18   would not have records for such post-warranty repairs because they
19   could take place in any repair shop.      (Id.)   Additionally,
20   Defendants argue that causation is also a problem for
21   ascertainability because a repair must be made as a result of the
22   alleged defect, so the Court would have to determine cause in fact
23   for each class member.    (Id.)
24        Plaintiffs respond that identification of the California
25   statutory and Washington classes is feasible through class
26   members’ “own records concerning the diagnosis or repair of the
27   defective chain system.”     (Reply at 13.)    Plaintiffs claim that
28   “[c]ommon experience and logic demonstrate that individuals are

                                         34
Case 2:13-cv-00686-DDP-MAN Document 166 Filed 04/05/16 Page 35 of 35 Page ID
                                 #:4847


 1   typically meticulous about keeping records of the repairs made to
 2   their cars.”   (Id.)   In addition, Plaintiffs claim that Department
 3   of Motor Vehicle records, rather than repair records, can suffice
 4   for the California fraud and breach of warranty class.         (Id.)
 5         In Keegan, a class of “all purchasers or lessees” of two
 6   Honda models was ascertainable because “the definitions rely on
 7   objective criteria that are verifiable through documentation of a
 8   purchase or lease of a class vehicle.”       284 F.R.D. at 521-22.
 9         Here, the Court finds that the presence of repair and
10   ownership or lease records is strong basis for determining
11   membership in all three classes.      Further, the materiality of
12   Nissan’s alleged omission can also be shown on a classwide basis.
13   A reasonable consumer would consider the presence of a defect in
14   the timing chain system an important consideration in deciding
15   whether to buy or lease a vehicle because of the safety concerns
16   and also potential repair costs — particularly as the repairs
17   would likely arise after the warranty period ended.        Therefore,
18   the Court finds ascertainability met for all three classes.
19   IV.   CONCLUSION
20         For all the above reasons, the Court GRANTS Plaintiffs’
21   Motion for Class Certification.
22
23   IT IS SO ORDERED.
24
25   Dated: April 5, 2016
                                                DEAN D. PREGERSON
26                                              United States District Judge
27
28

                                         35
